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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

           Plaintiffs,

v.
                                                         Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

           Defendants.



                                     NOTICE OF SEALED FILINGS

              Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and E.D.Va. Local Civil Rule

     5(C), Plaintiffs have filed under seal a portion of their Memorandum in Support of Plaintiffs’

     Motion to Compel (ECF No. 96), and nine accompanying exhibits (Exs. G–O).

              NOTICE OF RIGHT TO RESPOND: Pursuant to Local Civil Rule 5(C), parties and

     nonparties may submit memoranda in support of or in opposition to the motion within seven (7)

     days after the filing of the motion to seal, and that they may designate all or part of such

     memoranda as confidential.

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                                                  Respectfully Submitted,

Dated February 1, 2019                            /s/ Scott A. Zebrak
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